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                             EXHIBIT 1
                         Superior Court
               Complaint and Amended Complaint
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                                         IN THE SUPERIOR COURT OF THE VIRGIN ISLANDS
                                                     DIVISION OF ST CROIX

                        BRIANNA HENRY

                                              Plaintiff                     CIVIL NO SX 2020 CV 00996

                               V
                                                                            ACTION FOR DAMAGES
                        JEANINE CARBON THOMAS Nurse
                        Midwife and NAITA SALMON Nurse
                        Practitioner                                        JURY TRIAL DEMANDED

                                              Defendants



                                                  FIRST AMENDED VERIFIED COMPLAINT

                               COMES NOW Plaintiff BRIANNA HENRY by and through undersigned counsel

                        and files her Verified Complaint against Defendants JEANINE CARBON THOMAS Nurse

                        Midwife and NAITA SALMON Nurse Practitioner and allege the following

                           1       This Court has jurisdiction over this matter pursuant to 4 V I C § 76

                           2       The Medial Malpractice Act is void as a result of not having been implemented

                           3       Plaintiff Brianna Henry is a resident of St Croix U 8 Virgin Islands

                           4       Defendant Jeanine Carbon Thomas Nurse Midwife is upon information a

                                   Virgin Islands licensed Midwife

                           5       Defendant Naita Salmon is upon information a Virgin Islands licensed nurse

                                   practitioner

                           6       Plaintiff became pregnant and had her prenatal care through Naita Salmon at

                                   the Christiansted Clinic
LEEJ ROHN AND
ASSOCIATES LLC
1108 King St Ste3
 Christiaggged VI                                                                    EXHIBIT

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                                                                                     EXHIBIT
Fax 340 773 2954
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                                                                                          1
                                                                                          1
Case: 1:21-cv-00016-WAL-GWC Document #: 1-2 Filed: 03/26/21 Page 3 of 9



   HENRY BRIANNAV DR JEANNE CARBON THOMAS ET AL CIVIL NO 8X 2020 CV 00996
   FIRST AMENDED VERIFIED COMPLAINT
   Page 2

      7        Close to Plaintiff delivery date she was transferred to the Frederiksted Clinic

               and Nurse Jeanine Carbon Thomas

      8        Defendant Nurse Midwife Carbon Thomas was Plaintiff’s physician during the

               delivery on March 23 2020

      9        During delivery Plaintiff suffered a perineal laceration

      10       Defendant Nurse Midwife Carbon Thomas failed to correctly repairthetear and

               left a portion open

      11       Plaintiff complained to Nurse Practitioner Salmon that she was in constant pain

               and had burning pain on urination and at other times in her perineal area

      12       Defendant Nurse Practitioner Salmon failed to examine the same and instead

               simply provided antibiotics

      13       Finally after much pain and difﬁculties while Nurse Practitioner Salmon still had

               not examined the area Plaintiff was referred to Dr Briscoe a gynecologist

      14       Dr Briscoe ﬁnally examined the area and discovered the open wound that had

               never been correctly sutured in August of 2020

      15      As a result of the delay in treatment Plaintiff was scheduled for surgery on

              August 24 2020 to repairthe area

      16      As a result of the negligence of Defendants Plaintiff suffered physical injuries

              medical expenses mental anguish economic damages pain and suffering and

              loss of enjoyment of life all of which will continue into the foreseeable future

            WHEREFORE Plaintiff prays for damages as they may appear pre and post

  judgment interest costs and fees and for such other relief as this Court deems fair and
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   HENRY BRIANNA V DR JEANINE CARBON THOMAS ET AL      CIVIL NO 8X 2020 CV 00996
   FIRST AMENDED VERIFIED COMPLAINT
   Page 3

   Just


                                       LEE J ROHN AND ASSOCIATES LLC
                                      Attorneys for Plaintiffs



   DATED January 28 2021               BY     /s/Lee J Rohn
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                                            1108 King Street Suite 3 (mailing)
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                                            Christiansted St Croix
                                            U 8 Virgin Islands 00820
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   HENRY BRIANNA v DR JEANINE CARBON THOMAS ET AL CIVIL NO sx 2020 CV 00996
   FIRST AMENDED VERIFIED COMPLAINT
   Page 4

                                        VERIFICATION

            I BRIANNA HENRY being duly sworn state I have read the allegations contained

   in the foregoing VERIFIED COMPLAINT and know them to be true and correct to the best

   of my knowledge and belief


   Date       11337131                  E 3.1g); 2
                                                  BRIANNA HENRY




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   me this         day of _i   0 W            2021

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   My Commission Expires March a 2m
                    Case: 1:21-cv-00016-WAL-GWC Document #: 1-2 Filed: 03/26/21 Page 6 of 9




                                        IN THE SUPERIOR COURT OF THE VIRGIN ISLANDS
                                                    DIVISION OF ST CROIX

                        BRIANNA HENRY

                                              Plaintiff                    CIVIL NO

                              v
                                                                           ACTION FOR DAMAGES
                        DR JEANINE CARBON THOMAS MD
                        and DR NAITA SALMON MD
                                                                           JURY TRIAL DEMANDED
                                              Defendants




                                                          VERIFIED COMPLAINT

                              COMES NOW Plaintiff BRIANNA HENRY by and through undersigned counsel

                       and files her Verified Complaint against Defendants DR JEANINE CARBON THOMAS

                       MD and DR NAITA SALMON MD and allege the following

                          1       This Court has jurisdiction over this matter pursuant to 4 V | C § 76

                          2       The Medial Malpractice Act is void as a result of not having been implemented

                          3       Plaintiff Brianna Henry is a resident of St Croix U 8 Virgin Islands

                          4       Defendant Dr Jeanine Carbon Thomas MD is upon information a Virgin

                                  Islands licensed physician

                          5       Defendant Dr Naita Salmon MD is uponinformation aVirginIslandslicensed

                                  physician

                          6       Plaintiff became pregnant and had her prenatal care through Dr Naita Salmon

                                  at the Christiansted Clinic

LEtJ ROHN AND             7       Close to Plaintiff delivery date she was transferred to the Frederiksted Clinic
ASSOCIATES LLC
1108 King St Sle3
 Chrisgggztgzd VI                 and Dr Jeanine Carbon Thomas
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Fax 340 773 2954
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   HENRY BRIANNAV DR JEANINE CARBON THOMAS ET AL                CIVIL NO
   VERIFIED COMPLAINT
   Page 2

         8      Defendant Dr Carbon Thomas was Plaintiffs physician during the delivery on

                March 23 2020

         9      During delivery Plaintiff suffered a perineal laceration

         1O     Defendant Dr Carbon Thomas failed to correctly repair the tear and left a

                portion open

         11     Plaintiff complained to Dr Salmon that she was in constant pain and had

                burning pain on urination and at othertimes in her perineal area

         12     Defendant Dr Salmon failed to examine the same and instead simply provided

                antibiotics

         13     Finally after much pain and difficulties while Dr Salmon still had not examined

                the area Plaintiff was referred to Dr Briscoe a gynecologist

         14     Dr Briscoe finally examined the area and discovered the open wound that had

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         15     As a result of the delay in treatment Plaintiff was scheduled for surgery on

                August 24 2020 to repairthe area

         16     As a result of the negligence of Defendants Plaintiff suffered physical injuries

                medical expenses mental anguish economic damages pain and suffering and

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              WHEREFORE        Plaintiff prays for damages as they may appear pre and post

  judgment interest costs and fees and for such other relief as this Court deems fair and

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Case: 1:21-cv-00016-WAL-GWC Document #: 1-2 Filed: 03/26/21 Page 8 of 9




   HENRY BRIANNAV DR JEANINE CARBON THOMAS ET AL      CIVIL NO
   VERIFIED COMPLAINT
   Page 3




                                      LEE J ROHN AND ASSOCIATES LLC
                                      Attorneys for Plaintiff




   DATED September3 2020              BY     /s/LeeJ Rohn
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   HENRY BRIANNAV DR JEANINE CARBON THOMAS ET AL          CIVIL NO
   VERIFIED COMPLAINT
   Page 4

                                        VERIFICATION

            | BRIANNA HENRY being duly sworn state I have read the allegations contained

   in the foregoing VERIFIED COMPLAINT and knowthem to be true and correct to the best

  of my knowledge and belief


   Date      QZLHZO                                         a 0M
                                                        BRIANNA HENRY




  SUBSCRIBED AND SWQRN to before
  me this 2% day of                           2020
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